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                                                                  July 15, 2018

Via ECF and Email

Honorable Robert D. Drain
United States Bankruptcy Courthouse
300 Quarropas Street
White Plains, New York 10601

        Re:       EMC Hotels and Resorts LLC - Case No. 18-22932 (RDD)
                  EMC Bronxville Metropolitan LLC – Case No. 18-22963 (RDD)

Dear Honorable Judge:

       We are writing in connection with the hearing scheduled for this morning in the EMC
Hotels and Resorts LLC matter (the “Nyack Case”). Collaterally we also write in connection
with the EMC Bronxville Metropolitan LLC matter (the “Bronxville Case”). On July 15, 2018
we electronically filed a Motion to Convert the Nyack Case from Chapter 7 to Chapter 11 (ECF
Docket No. 27). On July 15, 2018 we electronically filed a Motion to Convert the Bronxville
Case from Chapter 7 to Chapter 11 (ECF Docket No. 7).

        11 U.S.C. §706(a) provides, in pertinent part, that a “debtor may convert a case under this
chapter to a case under chapter 11 … of this title at any time, if the case has not been converted
under section 1112, 1208 or 1307 of this title.” The Debtor respectfully asserts that conversion
from Chapter 7 to Chapter 11 is a matter of absolute right. A proposed Orders of Conversion (the
“Orders”) granting these requests is transmitted in Word format with this email and is docketed
as an exhibit to the Motions.

        We intend, after the entry of the Orders of Conversion, to submit the following:

              a) An order of Joint Administration;

              b) Retention orders for attorneys, accountant and other usual retention orders;

              c) When negotiated with Bank Hapoalim, cash collateral orders;

              d) Other usual “first day” orders as necessary and desirable; and

              e) An Order appointing an Examiner Pursuant to 11 U.S.C. § 1104(c) with expanded
                 powers.

       We believe that an Examiner is necessary to examine a variety of allegations surrounding
these cases, as outlined in the various papers relating to the Motion for Interim Trustee and the


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Motion to Dismiss and for Abstention. Included in the powers of the proposed examiner should
include into and out of both entities, the relation between the debtors and subject that the
Examiner believes are appropriate, including various allegations of fraud, forgery and
misappropriation.

       While the Motion to Dismiss and for Abstention will have been mooted by the consent to
order for relief contained in the proposed Orders of Conversion, the Debtor’s factual assertions
remain subject to probing and disclosure.

       Thank you for your consideration of these matters.

                                                   Respectfully,

                                                   RATTET PLLC

                                                   /s/ Robert L. Rattet, Esq.
                                                   ____________________________________
                                                   Robert L. Rattet, Esq.
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cc:    (BY ELECTRONIC MAIL)

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RLR/
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

-------------------------------------------------------------- x
                                                               :
In re                                                          :   Chapter 7
                                                               :
EMC Hotels and Resorts LLC,                                    :   Case No.: 18−22932−rdd
fka NYLO Nyack, LLC,                                           :
fka WY Time Hotel, LLC,                                        :
                                                               :
Debtor.

-------------------------------------------------------------- x


               ORDER CONVERTING CHAPTER 7 CASE TO CASE
                         UNDER CHAPTER 11

          Upon the motion (the “Motion”) of the above-captioned debtor, EMC Hotels and Resorts

LLC (“EMC” or the “Debtor”), in open Court July 16, 2018 by its attorneys, Rattet PLLC; and it

appearing that the Debtor has an absolute right to convert this case from one under Chapter 7 to

one under Chapter 11, good and sufficient cause appearing for the relief requested in the Motion;

it is hereby

          ORDERED, that, pursuant to 11 U.S.C. § 706(a), the above-captioned involuntary

chapter 7 case is hereby converted to one under chapter 11 of the Bankruptcy Code, and it is

further

          ORDERED, that this Order is without prejudice to any right the Debtor may have to seek

appropriate relief under 11 U.S.C. §303(i) for damages caused and occasioned by the involuntary

Chapter 7 filing
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       ORDERED, that this Order shall constitute the Order for Relief in this Title 11 case.

Dated: July __, 2018

                                     ______________________________________
                                     HON. ROBERT D. DRAIN
                                     UNITED STATES BANKRUPTCY JUDGE
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

-------------------------------------------------------------- x
                                                               :
In re                                                          :   Chapter 7
                                                               :
EMC Bronxville Metropolitan LLC,                               :   Case No.: 18−22963−rdd
                                                               :
                                                               :
                                    Debtor.                    :

-------------------------------------------------------------- x


               ORDER CONVERTING CHAPTER 7 CASE TO CASE
                         UNDER CHAPTER 11

          Upon the oral motion (the “Motion”) of the above-captioned debtor, EMC Bronxville

Metropolitan LLC (“EMC” or the “Debtor”), by its attorneys, Rattet PLLC; and it appearing that

the Debtor has an absolute right to convert this case from one under Chapter 7 to one under

Chapter 11, good and sufficient cause appearing for the relief requested in the Motion; it is

hereby

          ORDERED, that, pursuant to 11 U.S.C. § 706(a), the above-captioned involuntary

chapter 7 case is hereby converted to one under chapter 11 of the Bankruptcy Code, and it is

further

          ORDERED, that this Order is without prejudice to any right the Debtor may have to seek

appropriate relief under 11 U.S.C. §303(i) for damages caused and occasioned by the involuntary

Chapter 7 filing
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       ORDERED, that this Order shall constitute the Order for Relief in this Title 11 case.

Dated: July __, 2018

                                     ______________________________________
                                     HON. ROBERT D. DRAIN
                                     UNITED STATES BANKRUPTCY JUDGE
